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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA

JANE DOE as next friend for “FIONA,” a minor,                Civ. No. 1:16-cv-00303-DSC
“ERIN,” “VICKY,”
JANE ROE as next friend for
“SKYLAR” and “SAVANNAH,” minors,                             STIPULATION OF THE
JOHN DOE as next friend for “SALLY”                          PARTIES PURSUANT TO
and “SIERRA,” minors, and “SARAH”                            FRCP 41(a)(1)

                                      Plaintiffs,
v.

KIRK NESSET,

                                      Defendant.


1.    Identification of counsel and unrepresented parties.

      Counsel for Plaintiffs Jane Doe, Erin, and Fiona:

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      Counsel for Plaintiffs Vicky, Jane Roe, Skylar, Savannah, John Doe, Sally, Sierra,
      and Sarah:

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2.   Stipulation of the Parties

     The parties hereby stipulate that the claims of the Plaintiffs, and each of them, for Actual
     Damages, Compensatory Damages, Punitive Damages, and Costs are here by withdrawn
     and dismissed with prejudice. The claims of Plaintiffs, and each of them, for Statutory
     Damages of $150,000 each, pursuant to 18 U.S.C. § 2255(a), and for reasonable
     attorney’s fees, remain in full force notwithstanding this stipulation.

                                           Respectfully submitted,

                                           MARSH LAW FIRM PLLC

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